                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE


  UNITED STATES OF AMERICA                           )
                                                     )
  v.                                                 )      Case No. 2:19-CR-067
                                                     )
  ANTHONY JAMAL MORRISON                             )


                                           ORDER

         On October 21, 2020, United States Magistrate Judge C. Clifford Shirley conducted

  a change of plea hearing and filed a Report and Recommendation (“R&R”) recommending:

  (1) that the Court find that the plea hearing in this case could not be further delayed without

  serious harm to the interests of justice; (2) that the defendant’s plea of guilty to the charge

  in Count One of the second superseding indictment be accepted; (3) that the defendant be

  found guilty of that charge; (4) that a decision on whether to accept the plea agreement be

  deferred until sentencing; and (5) that the defendant remain in custody until his sentencing

  hearing. [Doc. 131]. No objections have been filed to the R&R, and the time for doing so

  has now passed. See Fed. R. Crim. P. 59(b)(2).

         The Court has thoroughly reviewed the R&R. Having done so, Magistrate Judge

  Shirley’s R&R [doc. 131] is ACCEPTED and ADOPTED in full.

         Pursuant to 28 U.S.C. § 636(b)(1), it is ORDERED that:

         1. The plea hearing conducted in this case on October 21, 2020, could not
         have been further delayed without serious harm to the interests of justice;




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        2. The defendant’s plea of guilty to the charge in Count One of the second
        superseding indictment, that is, of knowingly conspiring to distribute
        oxycodone, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C), is
        ACCEPTED;

        3. The defendant is ADJUDGED guilty of Count One of the second
        superseding indictment;

        4. The decision whether to accept the parties’ plea agreement is
        DEFERRED until sentencing; and

        5. The defendant shall remain in custody until sentencing, which is
        scheduled to take place on Tuesday, March 16, 2021, at 10:45 a.m. in
        Knoxville.

              IT IS SO ORDERED.

                                                       ENTER:



                                                              s/ Leon Jordan
                                                        United States District Judge




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